Case 1:23-cv-01537-DII Document 38-1 Filed 01/19/24 Page 1 of 19




                       EXHIBIT A
Complaint in United States v. Texas, et al. ,
No. 1:24-cv-00008-RP (W.D. Tex. Jan. 3, 2024)
       Case
        Case1:23-cv-01537-DII
             1:24-cv-00008-RP Document
                               Document38-1
                                        1 Filed
                                            Filed01/03/24
                                                  01/19/24 Page
                                                            Page1 2ofof1819




                       UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION




UNITED STATES OF AMERICA,
       Plaintiff,                                Case No. 1:24-cv-00008

v.

THE STATE OF TEXAS; GREG ABBOTT,
in his official capacity as Governor of Texas;
TEXAS DEPARTMENT OF PUBLIC
SAFETY; STEVEN C. MCCRAW, in his of-
ficial capacity as Director of Texas Depart-
ment of Public Safety,
       Defendants.




                                     COMPLAINT
         Case
          Case1:23-cv-01537-DII
               1:24-cv-00008-RP Document
                                 Document38-1
                                          1 Filed
                                              Filed01/03/24
                                                    01/19/24 Page
                                                              Page2 3ofof1819




       1.      The United States brings this action to preserve its exclusive authority under

federal law to regulate the entry and removal of noncitizens. Texas’s Senate Bill 4 (SB 4)

creates purported state immigration crimes for unlawful entry and unlawful reentry, permits

state judges and magistrates to order the removal of noncitizens from the country, and man-

dates that state officials carry out those removal orders. But Texas cannot run its own immi-

gration system. Its efforts, through SB 4, intrude on the federal government’s exclusive au-

thority to regulate the entry and removal of noncitizens, frustrate the United States’ immigra-
tion operations and proceedings, and interfere with U.S. foreign relations. SB 4 is invalid and

must be enjoined.

       2.      “The Government of the United States has broad, undoubted power over the

subject of immigration and the status of” noncitizens. Arizona v. United States, 567 U.S. 387,

394 (2012). Indeed, “the regulation of [noncitizens] is so intimately blended and intertwined

with responsibilities of the national government that where it acts, and the [S]tate also acts on

the same subject,” the state law must give way. Hines v. Davidowitz, 312 U.S. 52, 66 (1941).

Texas’s SB 4 is preempted by federal law and thus violates the Supremacy Clause of the

United States Constitution. That conclusion is strongly reinforced by the Foreign Commerce

Clause, which is one of the sources of Congress’s power to regulate immigration, and which

simultaneously limits the power of the States to engage in such regulation. In this action, the

United States seeks a declaration invalidating, and an order enjoining the enforcement of,

SB 4 before it takes effect on March 5, 2024.

                                  JURISDICTION & VENUE

       3.      This Court has jurisdiction over this action under 28 U.S.C. §§ 1331 and 1345,

and the United States seeks remedies under 28 U.S.C. §§ 1651, 2201, and 2202.

       4.      Venue is proper in this judicial district under 28 U.S.C. § 1391 because Defend-
ants reside within this district and because a substantial part of the acts or omissions giving

rise to this action occurred within this judicial district.




                                                 1
        Case
         Case1:23-cv-01537-DII
              1:24-cv-00008-RP Document
                                Document38-1
                                         1 Filed
                                             Filed01/03/24
                                                   01/19/24 Page
                                                             Page3 4ofof1819




                                          PARTIES

       5.     Plaintiff, the United States, regulates immigration and conducts foreign rela-

tions under its constitutional and statutory authorities and through its Executive Branch agen-

cies, including the Department of Homeland Security (DHS) and its component agencies—

U.S. Immigration and Customs Enforcement (ICE), U.S. Customs and Border Protection

(CBP), and U.S. Citizenship and Immigration Services (USCIS)—the Department of Justice,

and the Department of State.
       6.     Defendant State of Texas is a State of the United States.

       7.     Defendant Greg Abbott is the Governor of Texas. He is sued in his official

capacity.

       8.     Defendant Texas Department of Public Safety (DPS) is an agency of Texas,

responsible for enforcing the laws protecting the public safety and providing for the prevention

and detection of crimes. Tex. Gov’t Code § 411.002.

       9.     Defendant Steven C. McCraw is the Director of DPS. Tex. Gov’t Code

§§ 411.006(a)(1)–(2). He is responsible for the conduct of DPS’s affairs and serves as execu-

tive director of DPS, among other duties and responsibilities. Id. He is sued in his official

capacity.

               CONSTITUTIONAL AND STATUTORY AUTHORITIES

       10.    Under the Constitution’s Supremacy Clause, the Constitution and federal im-

migration laws, including the Immigration and Nationality Act (INA), are—like all federal

laws—“the supreme Law of the Land . . . any Thing in the Constitution or Laws of any State

to the Contrary notwithstanding.” U.S. Const. art. VI, cl. 2. Through the Supremacy Clause,

state laws may be preempted in various ways.

       11.    Under the doctrine of field preemption, “the States are precluded from regulat-
ing conduct in a field that Congress, acting within its proper authority, has determined must

be regulated by its exclusive governance.” Arizona, 567 U.S. at 399. “The intent to displace

state law altogether can be inferred from a framework of regulation so pervasive that Congress


                                               2
           Case
            Case1:23-cv-01537-DII
                 1:24-cv-00008-RP Document
                                   Document38-1
                                            1 Filed
                                                Filed01/03/24
                                                      01/19/24 Page
                                                                Page4 5ofof1819




left no room for the States to supplement it or where there is a federal interest so dominant

that the federal system will be assumed to preclude enforcement of state laws on the same

subject.” Id.

       12.      State laws are also “preempted when they conflict with federal law.” Arizona,

567 U.S. at 399. “This includes cases where compliance with both federal and state regula-

tions is a physical impossibility, and those instances where the challenged state law stands as

an obstacle to the accomplishment and execution of the full purposes and objectives of Con-
gress.” Id.

       13.      The Constitution tasks the federal government with regulating immigration,

foreign affairs, and foreign commerce. The Constitution affords the federal government the

power to “establish an uniform Rule of Naturalization,” U.S. Const., art. I § 8, cl. 4, to “reg-

ulate Commerce with foreign Nations,” id. art. I § 8, cl. 3, and to exercise authority inherent

in the United States’ national sovereignty, see United States v. Curtiss-Wright Exp. Corp., 299

U.S. 304, 318 (1936).

       14.      Thus, as the Supreme Court recognized, the “Government of the United States

has broad, undoubted power over the subject of immigration and the status of” noncitizens.

Arizona, 567 U.S. at 394. Congress has exercised its authority over immigration to make laws

comprehensively governing the entry, admission, presence, status, and removal of noncitizens

by enacting the INA, 8 U.S.C. § 1101 et seq., and other laws regulating immigration.

       15.      As relevant here, Congress established a comprehensive, integrated framework

governing the entry of noncitizens into the United States. 1 It has identified who may enter,

see, e.g., 8 U.S.C. §§ 1181–82, 1188, and how they may enter, see, e.g., 8 U.S.C. §§ 1223–25. 2


       1
         Following the Homeland Security Act of 2002, many references in the to the “Attor-
ney General” are now read to mean the Secretary of Homeland Security. See 6 U.S.C. § 557;
Clark v. Martinez, 543 U.S. 371, 374 n.1 (2005).
       2
         This complaint uses the term “noncitizen” as equivalent to the statutory term “alien.”
See Barton v. Barr, 140 S. Ct. 1442, 1446 n.2 (2020) (quoting 8 U.S.C. § 1101(a)(3)).



                                               3
         Case
          Case1:23-cv-01537-DII
               1:24-cv-00008-RP Document
                                 Document38-1
                                          1 Filed
                                              Filed01/03/24
                                                    01/19/24 Page
                                                              Page5 6ofof1819




       16.     Congress has also imposed federal criminal penalties on noncitizens who enter

or reenter the United States unlawfully. Two provisions are most relevant here. First,

8 U.S.C. § 1325, titled “Improper entry by [noncitizen],” makes it a crime for any noncitizen

to “enter[] or attempt[] to enter the United States at any time or place other than as designated

by immigration officers,” such as the unlawful entry between ports of entry. Second, 8 U.S.C.

§ 1326, titled “Reentry of removed [noncitizens],” states that, subject to certain exceptions,

“any [noncitizen] who . . . has been denied admission . . . or removed or has departed the
United States while an order of . . . removal is outstanding, and thereafter . . . enters, attempts

to enter, or is at any time found in, the United States . . . shall be fined . . . or imprisoned not

more than 2 years, or both.”

       17.     In terms of removal, the Supreme Court has confirmed “that the removal pro-

cess” must be “entrusted to the discretion of the Federal Government,” in part because a

“decision on removability . . . touch[es] on foreign relations and must be made with one

voice.” Arizona, 567 U.S. at 409. Federal law sets forth a comprehensive removal framework.

It identifies the grounds for removal, the requirements for commencing and administering

removal proceedings, and the protections afforded to noncitizens throughout the process. See,

e.g., 8 U.S.C. §§ 1182, 1225, 1227, 1229, 1229a, 1231(a)–(b). For example, federal law states

that during removal proceedings, which are overseen by specialized immigration judges, see

8 U.S.C. § 1101(b)(4), noncitizens must be given certain rights, including (i) the right to “be[]

represented . . . by counsel of the [noncitizen’s] choosing,” and (ii) “a reasonable opportunity

to examine the evidence against the [noncitizen], to present evidence on the [noncitizen’s]

own behalf, and to cross-examine witnesses presented by the Government.”                  8 U.S.C.

§ 1229a(b)(4); see also id. § 1229a(b)(1). Congress has also provided for judicial review of final

removal orders in a court of appeals, and allowed for a stay of removal pending judicial re-
view. 8 U.S.C. § 1252; Nken v. Holder, 556 U.S. 418 (2009). Moreover, certain noncitizens

may be subject to expedited removal proceedings described in 8 U.S.C. § 1225(b)(1), in which

the noncitizens will be “removed from the United States without further hearing or review,”


                                                 4
         Case
          Case1:23-cv-01537-DII
               1:24-cv-00008-RP Document
                                 Document38-1
                                          1 Filed
                                              Filed01/03/24
                                                    01/19/24 Page
                                                              Page6 7ofof1819




unless they claim a fear of persecution or torture, or express an intent to apply for asylum. Id.

§ 1225(b)(1)(A)(i); 8 C.F.R. § 235.3(b)(4). There are further procedures to assess whether a

noncitizen has a credible fear. See 8 U.S.C. § 1225(b)(1)(B)(v); 8 C.F.R. § 208.30.

       18.     A noncitizen may apply for relief or protection from removal. For example,

with certain exceptions, see 8 U.S.C. § 1158(a)(2) & (b)(2), Congress has specified that a

noncitizen “who is physically present in the United States or who arrives in the United States

(whether or not at a designated port of arrival . . . ), irrespective of such [noncitizen’s] status,
may apply for asylum,” id. § 1158(a)(1). In addition, certain noncitizens may be entitled to

withholding of removal, with limited exceptions, see id. § 1231(b)(3)(B), if they establish the

likelihood that they would face persecution if removed to the proposed country of removal,

id. § 1231(b)(3). And noncitizens may also be entitled to protection from removal consistent

with U.S. obligations under Article 3 of the Convention Against Torture and Other Cruel,

Inhuman, or Degrading Treatment of Punishment (Convention Against Torture), if they

would be tortured when removed to the proposed country of removal. 8 C.F.R. § 1208.16(c),

18(a). If the noncitizen is an unaccompanied child, Congress has provided additional protec-

tions, see 8 U.S.C. § 1232, including that the child must be transferred to the Office of Refugee

Resettlement (ORR) of the Department of Health and Human Services (HHS), which gener-

ally must place the child with a care provider in the least restrictive setting that is in the best

interest of the child, id. § 1232(c)(2)(A).

       19.     Federal law also provides recourse to noncitizens who are subject to removal

proceedings. Certain noncitizens in removal proceedings may apply for relief from removal,

8 U.S.C. § 1229a(c)(4), and if ordered removed, may file a motion for reconsideration, id.

§ 1229a(c)(6), or reopening, id. § 1229a(c)(7). In lieu of being subject to removal proceedings

or formal removal, certain noncitizens may be permitted to depart the United States at their
own expense, at the discretion of federal immigration officials. See id. § 1229c. Further, fed-

eral law establishes a comprehensive process for the execution of removal orders, including

how the United States determines where a noncitizen may be removed to and the physical


                                                 5
        Case
         Case1:23-cv-01537-DII
              1:24-cv-00008-RP Document
                                Document38-1
                                         1 Filed
                                             Filed01/03/24
                                                   01/19/24 Page
                                                             Page7 8ofof1819




process of removal. See id. § 1231(b)–(c). Notably, federal law explicitly gives federal officials

the responsibility to work with foreign governments to determine whether they will accept

noncitizens who are subject to final removal orders. See id. § 1231(b)(1)–(2); 8 C.F.R.

§ 241.15; see also 8 U.S.C. § 1158(a)(2)(A) (noting bilateral agreements with foreign nations).

       20.     Congress has also established an enforcement apparatus to target those who

enter unlawfully. For example, CBP, “in coordination with” ICE and USCIS, is tasked with

“enforc[ing] and administer[ing] all immigration laws,” including “the inspection, processing,
and admission of persons who seek to enter . . . the United States” and “the detection, inter-

diction, removal, departure from the United States . . . of persons unlawfully entering, or who

have recently unlawfully entered, the United States.” 6 U.S.C. § 211(c)(8). And U.S. Border

Patrol has “primary responsibility for interdicting persons attempting to illegally enter . . . the

United States . . . at a place other than a designated port of entry.” Id. § 211(e)(3).

       21.     Federal law also gives DHS “the power and duty to control and guard” the

border against illegal entry and to “perform such other acts as . . . necessary for carrying out

[such] authority.” 8 U.S.C. § 1103(a)(3), (5). In doing so, immigration officers enforce pro-

hibitions on unlawful entry. See id. § 1357(a) (detailing the authority of federal immigration

officers to “interrogate” and “arrest” noncitizens “entering or attempting to enter the United

States”); see, e.g., id. § 1357(a)(3) (authorizing access to certain private lands “for the purpose

of patrolling the border to prevent the illegal entry of [noncitizens] into the United States”);

H.R. Rep. No. 82-1377, at 3 (1957), 1952 U.S.C.C.A.N. 1358, 1360 (explaining that

§ 1357(a)(3) was designed to prevent illegal entries, protect “the national security,” and pre-

serve “the sovereign right of the United States to protect its own boundaries against the entry

of [noncitizens]”).

                                       SENATE BILL 4
       22.     On December 18, 2023, the Governor of Texas signed SB 4 into law, adding a

Chapter 5B to the Texas Code of Criminal Procedure and a Chapter 51 to the Texas Penal




                                                6
           Case
            Case1:23-cv-01537-DII
                 1:24-cv-00008-RP Document
                                   Document38-1
                                            1 Filed
                                                Filed01/03/24
                                                      01/19/24 Page
                                                                Page8 9ofof1819




Code. 3 SB 4 will become effective on March 5, 2024. This new law would create new state

crimes and impose state penalties on noncitizens who unlawfully enter or attempt to enter

Texas. It also would allow state courts to order the removal of noncitizens from the country

in lieu of being prosecuted for, or following successful prosecution of, such crimes. SB 4

contains three principal provisions.

       23.      First, SB 4 effectively makes it a state crime for a noncitizen to violate 8 U.S.C.

§ 1325(a), which as noted bars noncitizens from “enter[ing] or attempt[ing] to enter the United

States at any time or place other than as designated by immigration officers.” Like 8 U.S.C.

§ 1325(a), SB 4 bars noncitizens from “enter[ing] or attempt[ing] to enter [Texas] directly from

a foreign nation at any location other than a lawful port of entry.” SB 4, § 2, 88th Legis., 4th

Spec. Sess. (Tex. 2023) (codified at Tex. Penal Code § 51.02(a)). SB 4 creates affirmative

defenses to this crime if (1) the federal government has “granted” the noncitizen “lawful pres-

ence” or asylum, (2) the noncitizen “was approved for benefits under the federal Deferred

Action for Childhood Arrivals program between June 15, 2012, and July 16, 2021,” or (3) the

noncitizen has not violated 8 U.S.C. § 1325(a). SB 4, § 2 (codified at Tex. Penal Code

§ 51.02(c)). SB 4’s new state crime is punishable as a Class B misdemeanor, which includes

a fine of up to $2,000 and/or imprisonment for up to 180 days. SB 4, § 2 (codified at Tex.

Penal Code § 51.02(b)); see Tex. Penal Code § 12.22. If, however, the noncitizen had previ-

ously been convicted under SB 4, then a subsequent violation of that provision is a “state jail

felony,” SB 4, § 2 (codified at Tex. Penal Code. § 51.02(b)), which is generally punishable by

a fine of up to $10,000 and/or imprisonment for a term between 180 days and two years, see

Tex. Penal Code § 12.35(a)–(b).

       24.      Second, SB 4 seeks to track 8 U.S.C. § 1326(a), which generally bars nonciti-

zens from “enter[ing], attempt[ing] to enter, or” being “found in, the United States” if they

previously have been “denied admission . . . or removed” or “ha[ve] departed the United Stats

       3
         See SB 4, as enacted, is available at Texas Legislature Online, https://capi-
tol.texas.gov/BillLookup/Text.aspx?LegSess=884&Bill=SB4.


                                                 7
        Case
         Case1:23-cv-01537-DII
               1:24-cv-00008-RPDocument
                                 Document
                                        38-1
                                          1 Filed
                                             Filed01/03/24
                                                   01/19/24 Page
                                                             Page910
                                                                   of of
                                                                      1819




while an order of . . . removal is outstanding.” SB 4, similar to § 1326(a), makes it a crime

for a noncitizen to “enter[], attempt[] to enter,” or be found in Texas after the person “has

been denied admission to” or removed from the United States, or “has departed from the”

United States “while an order of . . . removal is outstanding.” SB 4, § 2 (codified at Tex.

Penal Code § 51.03(a)). Unlike with the state crime of unlawful entry, there are no affirmative

defenses to a violation of the provision on unlawful re-entry. An order of “removal” means

an order issued under either federal or state law or any other agreement in which a noncitizen
stipulates to removal pursuant to a criminal proceeding under either federal or state law. SB 4,

§ 2 (codified at Tex. Penal Code § 51.03(c)). This new state crime is generally a Class A

misdemeanor, punishable by a fine of up to $4,000 and/or imprisonment for up to one year.

See id.; Tex. Penal Code § 12.22. Under certain circumstances, such a violation is a third-

degree felony (with a maximum fine of $10,000 and/or imprisonment for a term between two

to ten years) or a second-degree felony (maximum fine of $10,000 and imprisonment for a

term between two and twenty years). SB 4, § 2 (codified at Tex. Penal Code § 51.03(b)); see

Tex. Penal Code §§ 12.33, 12.34.

       25.    Texas courts cannot “abate the prosecution of an offense” under SB 4 “on the

basis that a federal determination regarding the immigration status of the defendant is pending

or will be initiated.” SB 4, § 1 (codified at Tex. Code of Crim. Proc. Art. 5B.003).

       26.    Third, SB 4 allows state judges and magistrates to order the removal of noncit-

izens from the country. SB 4, § 1 (codified at Tex. Code of Crim. Proc. Art. 5B.002). When

a person is charged (but not yet convicted) under SB 4, a magistrate judge or state judge may

“discharge the person and require the person to return to the foreign nation from which the

person entered or attempted to enter” if, among other things, “the person agrees to the order”

and has not “previously been” charged with or convicted of certain specified crimes. SB 4,
§ 1 (codified at Tex. Code of Crim. Proc. Art. 5B.002(b), (c)). Additionally, if a person does

not consent to removal and is ultimately convicted under SB 4, removal is mandatory. SB 4,

§ 1 (codified at Tex. Code of Crim. Proc. Art. 5B.002(d)). In that scenario, the state judge


                                               8
       Case
        Case1:23-cv-01537-DII
             1:24-cv-00008-RP Document
                               Document38-1
                                        1 Filed
                                            Filed01/03/24
                                                  01/19/24 Page
                                                            Page1011ofof1819




“shall enter . . . an order requiring the person to return to the foreign nation from which the

person entered or attempted to enter,” with that order “tak[ing] effect on completion of the

term of confinement or imprisonment imposed by the judgment.” Id. (emphasis added). A

noncitizen’s failure to comply with a removal order is itself a second-degree felony. SB 4, § 2

(codified at Tex. Penal Code § 51.04).

       27.     SB 4 contains a severability provision, providing that if any application of any

provision is found by a court to be invalid for any reason, the remaining applications of that
provision to all other persons and circumstances shall be severed. SB 4, § 8.
             SB 4’s EFFECTS ON IMMIGRATION OPERATIONS, FEDERAL
                  LAW ENFORCEMENT, AND FOREIGN RELATIONS
       28.     If SB 4 takes effect, it will interfere with federal immigration operations, includ-

ing the carefully calibrated law-enforcement scheme governing entry and the comprehensive

removal scheme, which also includes relief or protection from removal. It will interfere with

the exclusive authority of the federal government to control entry into the United States and

removal of noncitizens to foreign countries as well as the conduct of foreign relations.

       29.     As the Supreme Court has recognized, the United States must speak with one

voice in immigration matters. “The authority to control immigration—to admit or exclude

[noncitizens]—is vested solely in the Federal government.” Truax v. Raich, 239 U.S. 33, 42

(1915). “If it be otherwise, a single State [could], at her pleasure, embroil us in disastrous

quarrels with other nations.” Chy v. Freeman, 92 U.S. 275, 280 (1875). Thus, a “principal

feature” of federal immigration laws “is the broad discretion exercised by immigration offi-

cials.” Arizona, 567 U.S. at 396.

       30.     SB 4 interferes with the comprehensive statutory scheme Congress enacted—

in some cases by preventing the Executive Branch from executing that scheme at all.

       31.     Even to the extent that SB 4 “has the same aim as federal law and adopts its

substantive standards,” “[w]ere [SB 4] to come into force, the State would have the power to

bring criminal charges against individuals for violating a federal law even in circumstances



                                                9
        Case
         Case1:23-cv-01537-DII
              1:24-cv-00008-RP Document
                                Document38-1
                                         1 Filed
                                             Filed01/03/24
                                                   01/19/24 Page
                                                             Page1112ofof1819




where federal officials in charge of the comprehensive scheme determine that prosecution

would frustrate federal policies.” Arizona, 567 U.S. at 402. Moreover, SB 4 imposes a unique

scheme of state penalties for violations. See id. at 402–03 (noting “an inconsistency between

[state law] and federal law with respect to penalties”).

       32.    SB 4 would also impede the federal government’s ability to take appropriate

enforcement actions and assess a noncitizen’s national-security and public-safety risks. For

example, the time-sensitive enforcement tool of expedited removal may be unavailable to fed-
eral officials for noncitizens who are arrested, detained, and prosecuted by Texas. And if a

noncitizen exits a port of entry without a federal removal order and later reenters the country,

the federal government may not be able to prosecute the noncitizen for illegal reentry.

       33.    SB 4 also interferes with federal immigration proceedings. The state law forbids

abatement of an SB 4 prosecution when the noncitizen has a pending determination of immi-

gration status before the federal government, including an application for asylum or adjust-

ment of status. SB 4, § 1 (codified at Tex. Code Crim. Proc. Art. 5B.003); see 8 U.S.C.

§ 1158(a)(1) (a noncitizen “who is physically present in the United States or who arrives in

the United States (whether or not at a designated port of arrival . . . ), irrespective of such

[noncitizen’s] status, may apply for asylum”); id. § 1255 (providing that certain noncitizens

are eligible to apply for adjust their status to that of a lawful permanent resident); 8 C.F.R.

§§ 208.8, 1208.8 (a noncitizen’s departure from the United States during the application pro-

cess may be treated as an abandonment of their asylum application). A noncitizen facing

SB 4 enforcement proceedings while a federal determination of their immigration status is

pending—including but not limited to the removal proceeding—may be impeded from par-

ticipating in the federal proceedings.

       34.    SB 4 would interfere with the federal government’s ability to conduct foreign
relations by imposing criminal penalties and immigration consequences on foreign nationals

based on their entry into the United States. “The dynamic nature of relations with other




                                              10
       Case
        Case1:23-cv-01537-DII
             1:24-cv-00008-RP Document
                               Document38-1
                                        1 Filed
                                            Filed01/03/24
                                                  01/19/24 Page
                                                            Page1213ofof1819




countries requires the Executive Branch to ensure that enforcement policies are consistent

with this Nation’s foreign policy.” Arizona, 567 U.S. at 397.

       35.    The foreign-relations concerns are exacerbated because the purpose and effect

of SB 4 would be to remove noncitizens to Mexico, regardless of their nationality. SB 4 per-

mits state judges and magistrates to order the removal of noncitizens to Mexico, regardless of

their country of citizenship, and without any indication that Mexico is willing to accept them,

potentially subjecting noncitizens to further criminal penalty if Mexico denies entry. Texas’s
unilateral removal orders therefore may impair the United States’ relations with Mexico. In-

deed, Mexico has already expressed its opposition to SB 4, noting that SB 4 would interfere

with Mexico’s sovereign right to determine who enters its territory. See Press Release, Secre-

taría de Relaciones Exteriores (Nov. 15, 2023), available at https://perma.cc/RP7H-JXZR.

In addition, Mexican President Lopez Obrador has stated that the Mexican government

would engage the United States diplomatically through the Ministry of Foreign Affairs. Any

diplomatic engagement with Mexico must occur through the federal government. By attempt-

ing to force “non-Mexican nationals” to return to Mexico, SB 4 “impose[s] a significant bur-

den upon the Executive’s ability to conduct diplomatic relations with Mexico.” Biden v. Texas,

597 U.S. 785, 806 (2022).

       36.    SB 4 also does not accommodate the United States’ treaty obligations, as im-

plemented in federal law (many of which govern the treatment of foreign nationals), or statu-

tory limitations on removal. For example, the United States is a party to the Convention

Against Torture, which has been implemented through federal law to prohibit the return of

noncitizens to a country where they are likely to face torture. 8 C.F.R. §§ 1208.16–.18; see

8 U.S.C. § 1231 note 2 (United States Policy with Respect to the Involuntary Return of Person

in Danger of Torture). Similarly, under the international obligations of the 1967 United Na-

tions Protocol Relating to the Status of Refugees, which Congress implemented in the Refu-

gee Act of 1980, Pub. L. No. 96-212, 94 Stat. 102, noncitizens may be entitled to withholding

of removal if they would be persecuted in the country of removal on account of race, religion,


                                              11
        Case
         Case1:23-cv-01537-DII
              1:24-cv-00008-RP Document
                                Document38-1
                                         1 Filed
                                             Filed01/03/24
                                                   01/19/24 Page
                                                             Page1314ofof1819




nationality, membership in a particular social group, or political opinion. 8 U.S.C.

§ 1231(b)(3). SB 4 does not provide a process or otherwise account for an individual who

fears persecution (8 U.S.C. § 1231(b)(3)) or torture (implemented at 8 C.F.R. §§ 1208.16-.18).

As a consequence, SB 4 could improperly result in refoulement of noncitizens—that is, the

return of noncitizens to a country where they would face torture or persecution.

       37.    Moreover, the implementation of SB 4 would undermine U.S. efforts to con-

vince governments worldwide to implement or strengthen their international protection sys-
tems and uphold their respective non-refoulement obligations. The international community

would view SB 4 as a sign that the United States is scaling back its commitment to interna-

tional protection and could encourage other governments to abandon or minimize their own

efforts—all without a deliberate policy choice by the federal government.

       38.    By empowering state officials to arrest and commence removal proceedings

against noncitizens who those officials suspect have entered or reentered the country illegally,

SB 4 also risks the “unnecessary harassment” of certain persons. Arizona, 567 U.S. at 408.

This too can impair the federal government’s ability to conduct foreign relations. See id. at

395 (“It is fundamental that foreign countries concerned about the status, safety, and security

of their nationals in the United States must be able to confer and communicate on this subject

with one national sovereign, not the 50 separate States.”).

       39.    The federal government sent a letter to Texas on December 28, 2023, explain-

ing that “SB 4 is preempted and violates the United States Constitution,” and that “the United

States intends to file suit to enjoin the enforcement of SB 4 unless Texas agrees to refrain from

enforcing the law.” Ex. 1. The letter noted, however, that if Texas “believe[s] there are any

facts or law supporting the validity of SB 4,” the State “should promptly bring them to our

attention.” Id. Texas has not done so.
                                COUNT I — PREEMPTION

       40.    Plaintiff realleges paragraphs 1 – 39.




                                               12
        Case
         Case1:23-cv-01537-DII
              1:24-cv-00008-RP Document
                                Document38-1
                                         1 Filed
                                             Filed01/03/24
                                                   01/19/24 Page
                                                             Page1415ofof1819




       41.     SB 4 unconstitutionally intrudes on the federal government’s exclusive author-

ity to regulate the entry and removal of noncitizens and therefore is field preempted. Federal

law delineates when it is unlawful for noncitizens to enter or reenter the United States and

imposes penalties for violating those proscriptions. Federal law also establishes a compre-

hensive apparatus for the federal government to enforce those rules. See generally 6 U.S.C.

§ 211; 8 U.S.C. §§ 1103(a), 1225(d), 1325, 1326. It further sets forth a comprehensive frame-

work governing the removal of noncitizens to foreign countries, a function that directly affects
foreign relations. Federal law identifies the grounds for removal, the requirements for com-

mencing and administering removal proceedings, the protections afforded to noncitizens

throughout the process, and the process for selecting the country to which noncitizens may

be removed. See, e.g., 8 U.S.C. §§ 1182(a), 1225, 1227, 1229, 1229a, 1231(a)–(b). And the

Supreme Court has confirmed “that the removal process” must be “entrusted to the discretion

of the Federal Government,” in part because a “decision on removability . . . touch[es] on

foreign relations and must be made with one voice.” Arizona, 567 U.S. at 409.

       42.     The federal interest is dominant in these areas: “[t]he power to regulate immi-

gration—an attribute of sovereignty essential to the preservation of any nation—has been en-

trusted by the Constitution to the political branches of the Federal Government.” United States

v. Valenzuela-Bernal, 458 U.S. 858, 864 (1982). That power stems from both Congress’s au-

thority to regulate immigration, see Fiallo v. Bell, 430 U.S. 787, 792 (1977), and the President’s

“executive power to control the foreign affairs of the nation,” United States ex rel. Knauff v.

Shaughnessy, 338 U.S. 537, 542 (1950). Indeed, only the federal government is charged with

the conduct of foreign affairs. See, e.g., Am. Ins. Ass’n v. Garamendi, 539 U.S. 396, 413 (2003)

(“There is, of course, no question that at some point an exercise of state power that touches

on foreign relations must yield to the National Government’s policy, given the concern for
uniformity in this country’s dealings with foreign nations that animated the Constitution's

allocation of the foreign relations power to the National Government in the first place.”).




                                               13
        Case
         Case1:23-cv-01537-DII
              1:24-cv-00008-RP Document
                                Document38-1
                                         1 Filed
                                             Filed01/03/24
                                                   01/19/24 Page
                                                             Page1516ofof1819




Relatedly, the control of an international “border has a clear and strong connection to na-

tional security,” Hernandez v. Mesa, 140 S. Ct. 735, 746 (2020), and “[n]ational-security policy

is the prerogative of the Congress and President,” Ziglar v. Abbasi, 582 U.S. 120, 142 (2017).

SB 4’s provisions criminalizing entry and providing for removal to foreign countries thus are

field preempted.

       43.    SB 4’s provisions also “stand[] as an obstacle to the accomplishment and exe-

cution of the full purposes and objectives of Congress.” Arizona, 567 U.S. at 399. Congress
granted the federal government the responsibility under federal law to regulate the entry and

removal of noncitizens and granted federal officers broad discretion in the manner by which

those provisions are enforced. By purporting to empower state officials to police unlawful

entry and to remove noncitizens, SB 4 interferes with the federal government’s statutory au-

thority to enforce the entry and removal provisions of federal law, and it conflicts with various

provisions of federal law permitting noncitizens to seek relief or protection from removal.

Under SB 4, a noncitizen who is eligible for relief or protection from removal under federal

law could be subject to removal under Texas law. As a consequence, SB 4 could result in the

refoulement of such noncitizens. In this way, Texas is attempting to undertake its own re-

movals without adhering to the removal scheme Congress devised.

       44.    Beyond that, federal officials must often work with foreign governments to de-

termine whether they will accept noncitizens who are subject to final removal orders, the

timing of such removals, and the logistics of such removals. See 8 U.S.C. § 1231(b). But

States have no authority to do so. As a result, allowing Texas to conduct its own removal

process would frustrate the United States’ ability to handle noncitizen removals “with one

voice.” Arizona, 567 U.S. at 409.

       45.    SB 4’s criminal provisions also are preempted by various other statutory provi-
sions, which together form a framework for state assistance with the federal government’s

immigration enforcement in certain respects. Congress has mandated that state officials may

assist in the enforcement of immigration law only with adequate training and supervision by


                                               14
        Case
         Case1:23-cv-01537-DII
              1:24-cv-00008-RP Document
                                Document38-1
                                         1 Filed
                                             Filed01/03/24
                                                   01/19/24 Page
                                                             Page1617ofof1819




the federal government, 8 U.S.C. § 1357(g), and in specified circumstances, see, e,g., id.

§ 1103(a)(10) (allowing the federal government to designate state officers for certain immigra-

tion enforcement in the face of an “imminent mass influx of” noncitizens); id. § 1252c (state

officers “are authorized to arrest and detain an individual who . . . is [a noncitizen] illegally

present in the United States,” but only if, among other things, the individual “has previously

been convicted of a felony” and is detained “only for such period of time as may be required

for” federal immigration authorities “to take the individual into Federal custody”); id.
§ 1324(c) (allowing state officers to arrest individuals for certain crimes of human smuggling).

None of these statutory provisions, however, permits a State to impose criminal penalties for

illegal entry or reentry or to remove noncitizens.

       46.     Other statutory provisions highlight the conflict between SB 4 and federal law.

For example, while both federal law and SB 4 criminalize the reentry of removed or deported

noncitizens, federal law includes exceptions, like consent from the Secretary of Homeland

Security. See 8 U.S.C. § 1326. But SB 4’s reentry provision has no affirmative defenses or

exceptions, prohibiting noncitizens’ reentry even if they have the Secretary of Homeland Se-

curity’s permission, thus conflicting with the federal scheme. In addition, noncitizens who

were paroled into the United States under certain DHS parole processes or who otherwise

legally reentered the United States after removal may also be prosecuted under SB 4 for illegal

reentry because the law extends to any noncitizen “found in th[e] state.” SB 4 § 2 (codified

at Tex. Penal Code § 51.03(a)). And to the extent Texas seeks to arrest, detain, and prosecute

unaccompanied noncitizen children, that would conflict with the protections Congress af-

forded such noncitizens, including transfer to HHS’s ORR and placement in the least restric-

tive setting that is in the best interest of the child. See 8 U.S.C. § 1232.

                     COUNT II — FOREIGN COMMERCE CLAUSE
       47.     Plaintiff realleges paragraphs 1 – 46.




                                                15
        Case
         Case1:23-cv-01537-DII
              1:24-cv-00008-RP Document
                                Document38-1
                                         1 Filed
                                             Filed01/03/24
                                                   01/19/24 Page
                                                             Page1718ofof1819




       48.    The Commerce Clause allows Congress to “regulate Commerce with foreign

Nations, and among the several States, and with the Indian Tribes.” U.S. Const. art. I, § 8,

cl. 3. “One of the major defects of the Articles of Confederation, and a compelling reason for

the calling of the Constitutional Convention of 1787, was the fact that the Articles essentially

left the individual States free to burden commerce both among themselves and with foreign

countries very much as they pleased.” Michelin Tire Corp. v. Wages, 423 U.S. 276, 283 (1976).

Under the Constitution, “[f]oreign commerce is pre-eminently a matter of national concern.”
Japan Line, Ltd. v. Los Angeles Cty., 441 U.S. 434, 448 (1979). And the Foreign Commerce

Clause is one of the sources of Congress’s power to regulate immigration through the INA

and other statutes. The Foreign Commerce Clause thus strongly reinforces the preemptive

force of the federal immigration scheme as discussed above.

       49.    Here, SB 4 improperly regulates foreign commerce itself. It regulates solely the

movement of noncitizens across an international boundary into Texas. “Although the Com-

merce Clause speaks only of Congress’s power, it has long been understood that there is a

dormant or negative aspect of the Commerce Clause that limits the power of the states to

regulate commerce.” Piazza’s Seafood World, LLC v. Odom, 448 F.3d 744, 749 (5th Cir. 2006).

       50.    SB 4 also improperly “create[s] a substantial risk of conflicts with foreign gov-

ernments” and “undermine[s] the ability of the federal government to ‘speak with one voice’

in regulating commercial affairs with foreign states.” Piazza’s Seafood, 448 F.3d at 750. By

attempting to force “non-Mexican nationals” to return to Mexico, SB 4 “impose[s] a signifi-

cant burden upon the Executive’s ability to conduct diplomatic relations with Mexico.”

Biden, 597 U.S. at 806. And Mexico has already asserted its right to “determine its own pol-

icies regarding entry into its territory” by “categorically reject[ing] any measure” like SB 4

that “allows state or local authorities to detain and return Mexican or foreign nationals to
Mexican territory.” Press Release, Secretaría de Relaciones Exteriores (Nov. 15, 2023).

                                  PRAYER FOR RELIEF

       The United States respectfully requests that this Court:


                                              16
      Case
       Case1:23-cv-01537-DII
            1:24-cv-00008-RP Document
                              Document38-1
                                       1 Filed
                                           Filed01/03/24
                                                 01/19/24 Page
                                                           Page1819ofof1819




        a) Declare that SB 4 violates the Supremacy Clause and Foreign Commerce

           Clause and is therefore invalid;

        b) Preliminarily and permanently enjoin Defendants—as well as their successors,

           officers, agents, servants, employees, attorneys, and any other persons in active

           concert or participation with those individuals—from enforcing SB 4;

        c) Award the United States its costs in this action; and

        d) Grant any other relief this Court deems just and proper.

DATED: January 3, 2024               Respectfully submitted,

                                     BRIAN M. BOYNTON
                                     Principal Deputy Assistant Attorney General

                                     JAIME ESPARZA
                                     United States Attorney

                                     ALEXANDER K. HAAS
                                     Director, Federal Programs Branch

                                     JEAN LIN
                                     Special Litigation Counsel, Federal Programs Branch

                                     /s/ Stephen Ehrlich
                                     STEPHEN EHRLICH
                                     KUNTAL CHOLERA
                                     Attorneys
                                     U.S. Department of Justice
                                     Civil Division, Federal Programs Branch
                                     1100 L Street, NW
                                     Washington, DC 20005
                                     Phone: (202) 305-9803
                                     Email: stephen.ehrlich@usdoj.gov

                                     Samuel M. Shapiro
                                     Assistant United States Attorney
                                     601 N.W. Loop 410, Suite 600
                                     San Antonio, TX 78216
                                     samuel.shapiro@usdoj.gov
                                     Tel: (210) 384-7392

                                     Attorneys for the United States


                                          17
